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AO 91 (Rev. 08/09) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                        District of New Jersey

                  United States of America                         )
                                V.                                 )
                                                                   )       Case No. 16-2004 fJS)
                                                                   )
                  ADAM CURTIS WILLIAMS                             )
                                                                   )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT

         1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                Iy015                           in the county of            Cumberland         in the
                       District of         New Jersey           the defendant(s) violated:
            Code Section                                                     Offense Description

18 U.S.C. § 1791(a)(2) and (b)(3)             Adam Curtis Williams being an inmate at Federal Correctional Institution,
                                              Fairton (“Ed Fairton”), did knowingly and intentionally possess a prohibited
                                              object as defined in Title 18, United States Code, Section 1791(d)(1)(B),
                                              specifically, a knife, in violation of Title 18, United States Code, Sections
                                              1791(a)(2) and 1791(b)(3).




         This criminal complaint is based on these facts:
See Attachments A and B.




        W    Continued on the attached sheet.




                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:        JJL                                                                      Iü
                                                                           essigt1atltre

City and state:                      Camden, New Jersey                                Hon.
                                                                                              Printed name and title
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                    CONTENTS APPROVED



        By
              Assistant U.S. Attorney’ rnnaVZ5iidi CalTig
                        Date: March 15, 2016
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                                ATTACHMENT A

       On or about May 26, 2015, in Cumberland County, in the District of New
Jersey, and elsewhere, defendant,

                           ADAM CURTIS WILLIAMS

being an inmate at federal Correctional Institution, F airton (“FCI-fairton”), did
knowingly and intentionally possess a prohibited object as defined in Title 18,
United States Code, Section 1791 (d)( 1 )(B), specifically, a knife.

       In violation of Title 18, United States Code, Sections 179 1(a)(2) and
1791 (b)(3).
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                                  ATTACHMENT B

       I, Joseph P. furey, Special Agent with the federal Bureau of Investigation
(“FBI”), have knowledge of the following facts based on my own investigation and
upon conversations with other individuals involved in this investigation. I have not
included all of the facts known to me in this affidavit, just those facts which I believe
necessary to establish probable cause. Where statements of others are set forth in
this Affidavit, they are set forth in substance and in part:

        1.    I have been employed as a FBI Special Agent for approximately
twenty-eight years, and am currently assigned to the Atlantic City Resident Agency
of the Newark Division, located in Northfield, New Jersey, where I investigate
violent crimes, including crimes which are committed at Federal Correctional
Institution, Fairton (“FCI-Fairton”) located in Cumberland County, New Jersey.

      2.     FCI-Fairton is a medium security facility for male offenders, and is a
prison as defined in U.S.C. § 179 1(d)(4). At all times relevant to this complaint,
ADAM CURTIS WILLIAMS (“WILLIAMS”) was an inmate at FCI-Fairton.

       3.    On May 26, 2015, at approximately 4:00 p.m., a Correctional Officer at
FCI-Fairton conducted a search of WILLIAMS and found a knife hidden in his
sweat shorts. The knife is a sharpened piece of metal, approximately six inches in
length, with a taped handle.

       4.    After the Correctional Officer recovered the knife from WILLIAMS’
shorts, the Officer further inspected the shorts and discovered a pocket that had been
sewn into the front of the shorts which contained three bundles of torn paper with
stains on them, a homemade pipe, a folded piece of paper containing a pink powdery
substance and a toothbrush handle with two razor blades attached to it.

       5.      The stained paper was determined to weigh approximately 5 grams and
it was field tested for the presence of narcotics and tested positive for the presence of
heroin.

       6.    On May 29, 2015, WILLIAMS, after receiving and waiving his
Miranda warnings, was interviewed by a Special Agent from the Federal Bureau of
Investigation and an SIS Officer. During that interview WILLIAMS stated, in
substance and in part, that the knife, toothbrush with razor blades affixed to the
handles and heroin found on his person on May 26, 2015 belonged to him.
